       Case 1:25-cv-00381-ABJ          Document 88       Filed 03/28/25      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


____________________________________
                                    )
NATIONAL TREASURY                   )
EMPLOYEES UNION, et al.,            )
                                    )
                        Plaintiffs, )
                                    )
        v.                          )
                                    )               Civil Action No. 25-0381 (ABJ)
RUSSELL VOUGHT                      )
in his official capacity as         )
Acting Director of the              )
Consumer Financial                  )
Protection Bureau, et al.,          )
                                    )
                        Defendants. )
____________________________________)


                                            ORDER

       Plaintiffs’ Motion for Temporary Restraining Order [Dkt. # 10] was converted with the
parties’ consent to a Motion for Preliminary Injunction on February 14, 2025. See Order [Dkt.
# 19]. Upon consideration of the motion, defendants’ opposition [Dkt. #31], plaintiffs’ reply
[Dkt. # 40], the parties’ supplemental submissions, the arguments advanced and evidence
introduced during the hearings conducted on March 3, 10, and 11, 2025, and the full record in this
case, and for the reasons set forth in the accompanying Memorandum Opinion [Dkt. # 87], it is
hereby ORDERED that the motion is GRANTED. In accordance with Fed. R. Civ. Proc. 65(a)
and (d)(1) and (2)(A)–(C), defendant Vought and defendant Consumer Financial Protection Bureau
(“CFPB”) are enjoined as set forth below until further order of this Court. This order shall bind
the defendants, their officers, agents, servants, employees, and attorneys, and any other persons
who are in active concert or participation with them, such as personnel from the Department of
Government Efficiency (“DOGE”) or the U.S. Digital Service.

       It is hereby ORDERED that:



                                                1
Case 1:25-cv-00381-ABJ          Document 88        Filed 03/28/25      Page 2 of 3




1. Defendants, shall maintain and shall not delete, destroy, remove, or impair any data or
   other CFPB records covered by the Federal Records Act (hereafter “agency data”)
   except in accordance with the procedures described in 44 U.S.C. Chapter 33. This
   means that Defendants shall maintain and shall not delete, destroy, remove, or impair
   agency data from any database or information system controlled by, or stored on behalf
   of, the CFPB. The term “agency data” includes any data or CFPB records stored on
   the CFPB’s premises, on physical media, on a cloud server, or otherwise. The
   defendants must take all necessary steps to ensure that its contractors do the same.


2. Defendants shall reinstate all probationary and term employees terminated between
   February 10, 2025 and the date of this order, including but not limited to, Julia Barnard,
   the Private Student Loan Ombudsman.


3. Defendants shall not terminate any CFPB employee, except for cause related to the
   individual employee’s performance or conduct; and defendants shall not issue any
   notice of reduction-in-force to any CFPB employee.


4. Defendants shall not enforce the February 10, 2025 stop-work order or require
   employees to take administrative leave in furtherance of that order, and defendants shall
   not reinstitute or seek to achieve the outcome of a work stoppage, whether through a
   stop-work order, an order directing employees to take administrative leave, or any other
   means.


5. To ensure that employees can perform their statutorily mandated functions, the
   defendants must provide them with either fully-equipped office space, or permission to
   work remotely and laptop computers that are enabled to connect securely to the agency
   server through the Citrix Virtual Desktop or another similar program.


6. Defendants shall ensure that in accordance with 12 U.S.C. §5492(b)(3), the CFPB
   Office of Consumer Response continues to maintain a single, toll-free telephone
   number, a website, and a database for the centralized collection of consumer complaints



                                         2
      Case 1:25-cv-00381-ABJ         Document 88       Filed 03/28/25      Page 3 of 3




         regarding consumer financial products and services, and that it continues to monitor
         and respond to those complaints, including by providing Elevated Case Management.


      7. Defendants shall rescind all notices of contract termination issued on or after
         February 11, 2025, and they may not reinitiate the wholesale cancellation of contracts.
         This provision does not prohibit the defendants from ordering that work or services
         under specific contracts be halted based on an individualized assessment that the
         contract involved is unnecessary for the agency to fulfill its statutory functions. To
         ensure that this Court can award full relief at the end of the case, however, the
         defendants may not finalize the termination of any contract.


      8. Defendants shall file a report with the Court by April 4, 2025 confirming that all
         individuals and entities that fall within Fed. R. Civ. Proc. 65(d)(2)(A), (B), and (C)
         have received actual notice of this Order, and that the defendants are in compliance
         with this Order.


      9. The Court’s temporary consent order issued on February 14, 2024 [Dkt. # 19] and the
         March 3, 2025 Minute Order issued in light of the parties’ Notice of Agreement [Dkt.
         # 53] and Notice of Agreement (Corrected) [Dkt # 65], are hereby VACATED.

SO ORDERED.



                                                  AMY BERMAN JACKSON
                                                  United States District Judge


DATE: March 28, 2025




                                              3
